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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
         v.                                  :       Criminal No. 21-cr-175-1 (TJK)
                                             :
ETHAN NORDEAN                                :
                                             :
                         Defendant.          :

                   GOVERNMENT’S NOTICE OF SENTENCING EXHIBITS

         The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, respectfully files the attached exhibits for the Court’s consideration at

sentencing. 1 The exhibits are cited in its individual sentencing memorandum, specifically ECF

855-2 (Attachment B - Ethan Nordean Additional Sentencing Arguments). In addition to the

documents attached hereto, the government notifies the Court and counsel that it is submitting

video exhibits to the Court via USAfx. The chart below summarizes the proffered exhibits. The

government does not have any objection to the public dissemination of any of the video exhibits

summarized below.

    Exhibit Name                  Format             Description
    Nordean Exhibit 1             Video              Warboys Podcast Excerpt
    Nordean Exhibit 2             Video              Nordean in the West Plaza
    Nordean Exhibit 3             PDF                Telegram Messages – Presidents’ Chat
    Nordean Exhibit 4             Video              Interview with Alex Jones
    Nordean Exhibit 5             Video              YouTube – Battle of Portland video
    Nordean Exhibit 6             PDF                Telegram Messages – OG Pickleback Crew
    Nordean Exhibit 7             PDF                Social Media post by Mike Nordean
    Nordean Exhibit 8             PDF                Telegram Messages – PNW Officers Chat
    Nordean Exhibit 9             PDF                Telegram Messages – PNW Officers Chat
    Nordean Exhibit 10            PDF                Telegram Messages – PNW Officers Chat
    Nordean Exhibit 11            PDF                Telegram Messages – OG Pickleback Crew


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  The government is not re-submitting herewith any of the exhibits that were previously admitted
at trial. We will provide copies of any such exhibit to the Court and counsel upon request.
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                            Respectfully Submitted,


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                            United States Attorney
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